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                 Exhibit 1
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                                                                                                                    USOO6137789A
United States Patent (19)                                                                        11 Patent Number:                                    6,137,789
Honkasalo                                                                                     (45) Date of Patent:                                Oct. 24, 2000
54     MOBILE STATION EMPLOYING                                                                  5,870,393 2/1999 Yano et al. ............................. 370/335
       SELECTIVE DISCONTINUOUS                                                                   5,884,187       3/1999 Ziv et al. ................................ 455/522
       TRANSMISSION FOR HIGH SPEED DATA                                                          5,946,356       8/1999 Felix et al. .............................. 375/295
       SERVICES IN CDMA MULTI-CHANNEL                                                    Primary Examiner Huy D. Vu
       REVERSE LINK CONFIGURATION                                                        Assistant Examiner Jasper Kwoh
                                                                                         Attorney, Agent, or Firm-Harry F. Smith; Brian T. Rivers;
       Inventor: Zhichun Honkasalo, Bedford, TeX.                                        Allen S. Lineberry
       Assignee: Nokia Mobile Phones Limited, Espoo,                                      57                     ABSTRACT
                 Finland                                                                 This invention applies to a mobile station that is able to
                                                                                         determine a required data rate based on data buffer usage. If
       Appl. No.: 08/882,822                                                             the data buffer indicates a requirement for a high data rate
       Filed:     Jun. 26, 1997                                                          transmission, the mobile Station Sends a request to a base
              7                                                                          Station to be assigned multiple parallel code channels. If the
       Int. Cl." ..................................................... H04B 71216        multiple parallel code channels are granted, the mobile
       U.S. Cl. .............................................................. 3701342   Station uses the channels for transmitting data to the base
        Field of Search ................................ 455/522, 69, 70,                Station until either the data buffer becomes empty, or a base
                     455/450, 455; 375/200, 206, 287, 286;                               Station time-out occurs, or the mobile Station is signalled by
                                    370/465, 468, 332, 335, 342                          the base Station to reduce its data transmission rate, which
                                                                                         ever occurs first. The mobile station of this invention is
                        References Cited                                                 enabled to autonomously control the data rate during an
                  U.S. PATENT DOCUMENTS                                                  assigned period for high Speed transmission, So as to lower
                                                                                         the data rate when needed for the purpose of improving
     5,257.257     10/1993      Chen et al. ............................... 370/18       coverage and/or to avoid operating in a power limited
     5,583,851     12/1996      Kato et al. ........                   . . 370/342       condition, thereby degrading link quality. The data rate is
     5,603,096      2/1997      Gilhousen et al. ....................... 455/69          lowered by disabling transmission though at least one par
     5,629,934      5/1997      Ghosh et al. .....                    ... 370/335        allel code channel, and Subsequently resuming transmission
     5,708,656      1/1998      Noneman et al.                        ... 370/320        though the code channel when conditions warrant. This
     5,777,990      7/1998      Zehavi et al......                     ... 370/335
     5,790,533      8/1998      Burke et al. ......                   ... 370/318        provides discontinuous transmission (DTX) mode of
     5,793,744      8/1998      Kanerva et al. ..                     ... 370/209        operation for individual ones of Supplemental parallel data
     5,812,968 9/1998 Hassan et al. ...                      ... 704/221                 code channels.
     5,839,056 11/1998 Hakkinen .................................. 455/69
     5,870,378 2/1999 Huang et al. ........................... 370/342                                       7 Claims, 4 Drawing Sheets


                                                                             ASSIGN n PARALLEL
                                                                           CODE CHANNELS TO MS




                                                                              TRANSMTPOWER
                                                                                 NCREASE?
                                                                                                    S ONE
                                                           NEW TRANSMT                             CHANNEL
                                                          POWER X POWER                            DELETED
                                                              LIMIT?
                                                                  YES
                                                            DELETE ONE                              NEW
                                                             PARALLEL          H             TRANSMIT POWER <
                                                           CODE CHANNEL                         POWER LIMIT
                                                            G
                                                                                              ADD ONE PARALLEL
                                                            TSir                             CODE CHANNEL, SEND
                                                                POWER                         RESUME PREAMBLE
                                                a




                                                             DECREASE
                                                            TRANSMITTER
                                                               POWER
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                          14A             18            DISPLAY




                                       POWER
                                      CONTROL


                                                       KEYPAD

                                                       DATA PORT




                      MICROPHONE


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                                                                           PSTN




                                                    FIC.. 2
                                                  (PRIOR ART)



   PART OF                                                                  PART OF
   MEMORY                               FIC.         3                   MOBILE STATION
     24                                              40                        10

    DATA            MULTIPLEX                   FUNDAMENTAL
   BUFFER             LAYER                        CODE
                                                 CHANNEL
  24A                  46
                                            SUPPLEMENTAL                                  12
          CONTROL                               CODE
             18                                  CHANNELO


                                                                            Tx POWER
                                                                               OUT
    POWER
     NTR
   coil                                     SUPPLEMENTAL
                                                CODE
                                                 CHANNEL
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                             ASSGN in PARALLEL
                            CODE CHANNELS TO MS




                              TRANSMIT POWER
                                 INCREASE?
                                                     IS ONE
            NEW TRANSMT                             CHANNEL
           POWER X POWER                            DELETED?
               LIMIT?


             DELETE ONE                               NEW
              PARALLEL                         TRANSMIT POWER <
            CODE CHANNEL                          POWER LIMIT



               INCREASE                        ADD ONE PARALLEL
              TRANSMITTER                      CODE CHANNEL SEND
                 POWER                          RESUME PREAMBLE



               DECREASE
              TRANSMITTER
                 POWER
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                           ASSIGN n PARALLEL
                          CODE CHANNELS TO MS




                            TRANSMIT POWER
                               INCREASE?
                                                   IS ONE
           NEW TRANSMIT                      CHANNEL DATA RATE
          POWER Y POWER                          REDUCED?
              LIMIT?


            REDUCE DATA                             NEW
            RATE OF ONE                      TRANSMIT POWER <
           CODE CHANNEL                         POWER LIMIT
                                                      p




             INCREASE                           INCREASE DATA
            TRANSMITTER                          RATE OF ONE
               POWER                            CODE CHANNEL



             DECREASE
            TRANSMITTER
               POWER
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                              1                                                                     2
         MOBILE STATION EMPLOYING                                     Separated as long as the differences in paths delayS does not
          SELECTIVE DISCONTINUOUS                                     exceed 1/BW, where BW equals the bandwidth of the
     TRANSMISSION FOR HIGH SPEED DATA                                 transmission link. An example of a widely accepted cellular
      SERVICES IN CDMA MULTI-CHANNEL                                  system CDMA standard is the TIA/EIA IS-95-A system
        REVERSE LINK CONFIGURATION                                    Standard.
                                                                         Because data transmission applications other than con
              FIELD OF THE INVENTION                                  ventional Voice traffic transmission are becoming increas
   This invention relates generally to radiotelephones and, in        ingly important in the cellular System area, a System operator
particular, to radiotelephones or mobile Stations Such as             who operates a CDMA system may desire to provide ser
those capable of operation with a code division, multiple             vices other than phone voice Service. Examples of these
access (CDMA) cellular network.                                       other Services include portable computer cellular modem
                                                                      Service or Video Service. Often, these other Services may
         BACKGROUND OF THE INVENTION                                  require that data be transmitted at a rate much faster than that
  Advances in the field of telecommunications have
                                                                      required for Voice transmission.
                                                                 15      In the case where it is desired to provide a range of
resulted in a variety of types of telecommunications Systems          different services in a CDMA cellular system, a method and
being available for use by the general public. Among these            apparatus for varying the data transmission rate in the
telecommunications Systems, cellular telephone Systems are            System, where the data rate could vary within a range
presently one of the most rapidly developing in terms of              required for all System Services, must be provided. It would
technologies and Services offered. Cellular Systems are cur           be desirable that this apparatus provide both slower Speed
rently in widespread use worldwide, with continued growth             data transmission for efficient and reliable speech Service
in Sales and Subscribers predicted for the future.                    and high Speed data transmission for other applications. For
   Several types of technologies have become dominant in              example, the IS-95-A System is limited to a maximum data
the cellular industry. In the United States most cellular             rate of 9600 bits per second (9.6 kbps). However, it may be
Systems currently operating use analog signal transmission       25   desirable to provide services in the IS-95-A system that
techniques, as Specified by the Telecommunications Industry           require data transmission at rates greater than 9.6 kbps.
Association/Electronic Industry Association(TIA/EIA)                  Additionally, because of the large costs involved in devel
AMPS standard, or a combination of analog and time                    oping new Systems, it would also be desirable if the data
division multiple access (TDMA) signal transmission                   transmission apparatus could be operated within an existing
techniques, as specified by the TIA/EIA IS-54 and IS-136              System on a noninterfering basis with slower Speed trans
Standards. In Europe, cellular Systems may operate accord             mitters and receivers, and could be implemented with mini
ing to one of Several analog System Standards, depending on           mum modifications to the air interface of the existing
the country, or according to the digital Global Services for          System.
Mobile (GSM) TDMA standard that has been specified for                   One technique for providing a higher data rate is to use
Europe. In other parts of the World most cellular Systems        35   multiple, parallel data channels that are simultaneously
operate according to one of the Standards used in the United          transmitted between the mobile Station and the base Station.
States or Europe, except for in Japan where the TDMA                  In this case the parallel data channels are separated by
personal digital communication (PDC) standard has been                unique spreading codes. A high Speed data user is assigned
developed and is in use. However, in Spite of the present             one fundamental code channel, and one or more Supplemen
dominance of analog and TDMA technologies, the cellular          40   tal code channels. The fundamental code channel is assigned
industry is dynamic and new technologies are constantly               for the duration of the connection time, and is used for data
being developed as alternatives to these currently dominant           traffic and Signalling, while the one or more Supplemental
technologies. One alternative digital Signal transmission             code channels are assigned for all or a portion of the
technique that has recently been the focus of interest for            connection time, and are dedicated for high Speed data
cellular Systems is known as code division multiple acceSS       45   (HSD) traffic.
(CDMA). In a CDMA system multiple users, each using a                   However, one significant problem with high Speed data
channel identified by a uniquely assigned digital code,               transmission in the CDMA reverse link (mobile station to
communicate with the System while sharing the same wide               base station), when using Such a multiple parallel traffic
band frequency spectrum.                                              (code) channel configuration, relates to the mobile Station
   CDMA provides several advantages over conventional            50   power amplifier (PA) efficiency. This is due to the fact that
analog or TDMA Systems. Frequency spectrum allocation                 the addition of the Sub-channel modulated waveforms
planning for mobile Stations and the base Stations of cells           results in a higher peak to average ratio of the transmitted
within a CDMA System is not necessary, as in analog and               Signal, and thus additional backoff in the power amplifier in
TDMA systems, because all CDMA base stations share the                order to maintain the required linearity. Consequently the
entire downlink frequency Spectrum, and all mobiles Share        55
                                                                      mobile Station is constrained to deliver lower output power,
the entire uplink frequency Spectrum. The fact that the               compared to a single channel Signal of the Same data rate.
wideband frequency Spectrum is shared by all uplink or                When the mobile station reaches its peak transmitter power
downlink users in CDMA also increases capacity Since the              the connection quality can no longer be maintained, despite
number of users that can be multiplexed simultaneously is             the base Station commanding a further increase in transmit
limited by the number of digital codes available to identify     60
                                                                      ted power. This can lead to an excessive number of high
the unique communications channels of the System, not by              error frames and a possible drop of the connection.
the number of radio frequency channels available.                                  OBJECTS OF THE INVENTION
Additionally, Since the energy of the transmitted Signals are
Spread over the wide band uplink or downlink frequency                   It is thus a first object of this invention to provide an
band, Selective frequency fading does not affect the whole       65   improved method for operating a mobile Station at an
CDMA signal. Path diversity is also provided in a CDMA                increased effective data rate, without increasing the required
System. If multiple propagation paths exist, they can be              linearity of the mobile Stations output power amplifier.
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   It is another object of this invention to provide a mobile          value; if So, (d) reducing the data rate by disabling data
Station that operates with a fundamental and at least one              transmission through at least one Supplemental data channel;
Supplemental code (data) channel, and to enable the Supple             and (e) increasing the transmission power.
mental code channel to be Selectively placed in a discon                  The mobile station is further operated in accordance with
tinuous transmission (DTX) state (a DTX low state) based               the Steps of: (f) receiving a command from the base Station
on the occurrence of at least one criterion being fulfilled.           to decrease the transmission power of the mobile station; (g)
   It is a further object of this invention to provide a mobile        determining in the mobile Station if the decreased transmis
Station that operates with the fundamental and the at least            Sion power, assuming that a disabled Supplemental data
one Supplemental code channel, and to enable the Supple                channel were once more enabled, will be less than the
mental code channel to be selectively placed in the DTX low            transmission power threshold value; if So, (h) increasing the
State if a commanded transmitter power increase would                  data rate by enabling data transmission through at least one
cause the mobile Station to exceed its output power limit.             previously disabled Supplemental data channel; and (i)
            SUMMARY OF THE INVENTION
                                                                       decreasing the transmission power.
                                                                  15
                                                                         In a preferred embodiment of this invention the step of
  The foregoing and other problems are overcome and the                increasing the data rate includes a step of transmitting a
objects of the invention are realized by methods and appa              resume message or preamble from the mobile Station to the
ratus in accordance with embodiments of this invention.                base Station on a previously disabled Supplemental code
   To overcome the foregoing and other problems, the                   channel. The preamble can be used to assist in Synchronizing
mobile Station is operated So as to autonomously reduce its            (e.g., chip Synchronizing) the base station to the channel
transmission data rate by lowering the number of parallel              prior to the resumption of data transmission on that channel.
code channels in use, and/or by reducing the data transmis
Sion rate through a code channel. By So doing the mobile                     BRIEF DESCRIPTION OF THE DRAWINGS
Station is enabled to improve the link budget and increase the           The above set forth and other features of the invention are
backoff in the power amplifier, while at the same time            25   made more apparent in the ensuing Detailed Description of
delivering more output power if required by the base Station,          the Invention when read in conjunction with the attached
thereby maintaining the connection quality at the expense of           Drawings, wherein:
the user transmission data rate.
  An important advantage that accrues from the use of this                FIG. 1 is a block diagram of a mobile station that is
invention is an improvement in the reverse link coverage for           constructed and operated in accordance with this invention;
power limited, high Speed data terminals, at least to the                FIG. 2 is an elevational view of the mobile station shown
extent that the traffic channel connection can be maintained           in FIG. 1, and which further illustrates a cellular commu
at a lower data rate.                                                  nication system to which the mobile station is bidirectionally
   This invention applies to a mobile station that is able to          coupled through wireless RF links;
determine a required data rate based on data buffer usage.        35
                                                                         FIG. 3 is a simplified block diagram of a portion of the
That is, if the data buffer indicates a requirement for a high         mobile station shown in FIGS. 1 and 2;
data rate transmission, the mobile Station Sends a request to            FIG. 4 is a logic flow diagram that illustrates a Selective
the base Station to be assigned multiple code channels. If the         DTX method in accordance with this invention; and
multiple code channels are granted, the mobile Station uses              FIG. 5 is a logic flow diagram that illustrates a selective
the multiple channels for transmitting data to the base Station   40   data rate reduction method in accordance with this inven
until either the data buffer becomes empty, or a base Station          tion.
time-out occurs, or the mobile Station is signalled by the
base Station to reduce its data transmission rate, whichever                      DETAILED DESCRIPTION OF THE
occurs first.                                                                             INVENTION
   In accordance with an aspect of this invention, the mobile     45     Reference is made to FIGS. 1 and 2 for illustrating a
Station is enabled to autonomously control the data rate               wireless user terminal or mobile station 10, Such as but not
during an assigned period for high Speed transmission, So as           limited to a cellular radiotelephone or a personal
to lower the data rate when needed for the purpose of                  communicator, that is Suitable for practicing this invention.
improving coverage and/or to avoid operating in a power                The mobile station 10 includes an antenna 12 for transmit
limited condition, thereby degrading link quality.                50   ting Signals to and for receiving Signals from a base Site or
   Aspects of this invention provide a technique to achieve            base station 30. The base station 30 is a part of a cellular
a mobile Station initiated discontinuous transmission on one           network 32 that includes a mobile switching center (MSC)
or more of the Sub-channels assigned by the base Station in            34. The MSC 34 provides a connection to landline trunks
the multiple-channel, high Speed data reverse link                     when the mobile station 10 is involved in a call.
configuration, for the purpose of maintaining connection          55     The mobile station includes a modulator (MOD) 14A,
quality and improving coverage when operating in a power               transceiver comprised of a transmitter 14 and a receiver 16,
limited environment.                                                   and a demodulator (DEMOD) 16A. The mobile station also
   This invention thus teaches a mobile station that is                includes a controller 18 that provides Signals to and receives
operated in accordance with the steps of: (a) establishing a           Signals from the transmitter 14 and receiver 16, respectively.
wireleSS data communication from a transmitter of the             60   These Signals include Signalling information in accordance
mobile Station to a receiver of the base Station at a prede            with the air interface Standard of the applicable cellular
termined data rate Simultaneously through a fundamental                System, and also user Speech and/or user generated data. The
data channel and at least one Supplemental data channel; (b)           air interface Standard is assumed for this invention to be a
receiving a command from the base Station to increase a                CDMA-type system, such as the direct sequence (DS)
transmission power of the mobile station transmitter; (c)         65   CDMA system that is specified in the above-mentioned
determining in the mobile Station if the increased transmis            IS-95-A standard. AS Such, the mobile station is assumed to
Sion power will exceed a transmission power threshold                  be capable of receiving closed loop power control com
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                             S                                                                      6
mands from the base station 30, and to further be capable of             Once the multiple code channels are assigned, the mobile
requesting multiple code channels in order to achieve a               Station 10 Sends data on all assigned code channels, until the
desired data transmission rate.                                       transmit buffer is empty or, in accordance with this
  The teaching of this invention is not intended, however, to         invention, until the mobile station transmitter 14 has been
be limited only to this specific CDMA implementation, or to           commanded by the base station 30 power control loop to
be limited for use only with an IS-95 compatible mobile               increase the output power beyond the mobile Station's
Station.
                                                                      output power limit. When this occurs, the mobile station 10
   In general, the mobile station 10 can be a vehicle mounted         determines a Suitable new data rate based on the current
or a handheld device. It should further be appreciated that           output power of the transmitter 14, using a principle that by
the mobile station 10 can be capable of operating with one            halving the data rate there is a gain in the link budget of
or more air interface Standards, modulation types, and acceSS         approximately 3 dB. The reduction in the data rate should be
types. By example, the mobile Station may be a dual mode
System capable of operating with both CDMA and analog                 Sufficient Such that at least one, or more if needed, of the
(FM) systems.                                                         currently assigned code channels are no longer required for
                                                                 15
  It is understood that the controller 18 also includes the           transmission. The procedure for Such data rate reduction is
circuitry required for implementing the audio and logic               preferably part of a Service option control function of a
functions of the mobile station. By example, the controller           mobile Station multiplex Sub-layer, as described below.
18 may be comprised of a digital signal processor device, a             The use of this invention does not exclude a method
microprocessor device, and various analog to digital
converters, digital to analog converters, and other Support           wherein the mobile station 10 originally determines the
circuits. The control and Signal processing functions of the          Suitable requested data rate, So that the requested data rate
mobile station 10 are allocated between these devices                 does not exceed its power limit. However, the presently
according to their respective capabilities. The mobile Station        preferred embodiment of this invention, which enables
10 also includes a battery 26 for powering the various           25   autonomous control over the data rate in real time, is more
circuits that are required to operate the mobile Station.             dynamic in the Sense that it allows the data rate to vary with
   A user interface includes a conventional earphone or               the transmitter power requirement.
speaker 17, a conventional microphone 19, a display 20, and
a user input device, typically a keypad 22, all of which are             In the normal high Speed data operation, the Service
coupled to the controller 18. The keypad 22 includes the              option layer of the mobile station 10 controlling software is
conventional numeric (0-9) and related keys (#,*) 22a, and            responsible for generating a number of radio link protocol
other keys 22b used for operating the mobile station 10.              (RLP) frames which contain the user data traffic. With N
These other keys 22b may include, by example, a SEND                  code channels assigned, the Service option generates N
key, various menu Scrolling and Soft keys, and a PWR key.             frames, unless otherwise commanded by the multiplex Sub
The mobile station 10 also includes various memories,            35   layer. In the absence of Sufficient data in the transmit data
shown collectively as the memory 24, wherein are Stored a             buffer to form N frames, blank frames may be supplied to the
plurality of constants and variables that are used by the             multipleX layer, to indicate that discontinuous transmission
controller 18 during the operation of the mobile station. For         (DTX) operation (i.e., no transmission at all) may take place
example, the memory 24 Stores the values of various cellular          on one or more of assigned code channels.
System parameters and the number assignment module               40
(NAM). An operating program for controlling the operation               When the mobile station 10 applies the data rate reduction
of controller 18 is also stored in the memory 24 (typically in        procedure in accordance with this invention, in order to
a ROM device). The memory 24 may also store data,                     maintain the connection quality when operating near the
including user messages, that is received from the network            output power limit, the multiplex Sub-layer may command
32 prior to the display of the messages to the user. The         45   the Service options layer to generate M RLP frames, plus
operating program in the memory 24 includes routines for              N-M blank frames, where M is less than N. The value of M
implementing the method described below in relation to                is determined by the mobile station 10, as a function of the
FIG. 4.
                                                                      desired, reduced data rate.
  The mobile station 10 may also include a data port 28 for
coupling to a Source of high speed data (e.g. a facsimile        50      When there is no traffic to be carried by a sub-channel, the
machine or a PC). In some embodiments the functionality of            entire transmit chain of that code channel is preferably
the mobile station 10 may be incorporated within such a               turned off. Consequently, a fewer number of parallel code
device. For example, at least the data transmission and               channels are in operation at the mobile Station transmitter
reception functionality of the mobile station 10 may be               14. However, the receiver of the base station 30 will still
provided within a plug-in card or module, such as a PCM          55   process all N code channels, since the base station 30 does
CIA card, and electrically connected to a PC for Sending and          not have knowledge that a given Sub-channel has been gated
receiving high Speed data.                                            off at the mobile station 10. In this case the received (null)
   In general, a high Speed data mobile Station requests a            frames of the gated off Sub-channel or Sub-channels are
number of parallel code channels based on information of              declared to be frames with insufficient quality, due to the
how much data is stored in a transmit data buffer. Based on      60   poor Signal to noise ratio, and thus passed on to the Service
the mobile Station's request, and the current interference            option. However, since all valid RLP frames have their own
condition in the network 32, the base station 30 assigns a            unique RLP sequence number, the base station 30 is able to
number of parallel code channels, up to a maximum number              delete these "error” frames, without affecting its normal
corresponding to the number requested by the mobile                   operation.
Station, for a given period of time. The period of time is       65
typically a network 32 parameter, and is signalled to the                Exemplary data rates, Versus the number of Supplemental
mobile station 10 explicitly from the base station 30.                code channels in use, are shown in the following Table 1.
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                              7                                                                    8
                                                                       Supplemental Code Channels (i.e., a closed loop output
                          TABLE 1.                                     power correction will increase or decrease the transmitted
                                                                       energy on each code channel by a nominal 1 dB). The
     Data Rate (kbps)     No. of Supplemental Code Channels            change in mean output power per Single power control bit is
           9.6                                                         specified to be within +0.5 dB of the nominal change, and
          19.2                                                         the change in mean output power level per 10 valid power
          28.8                                                         control bits of the same sign is specified to be within +20%
          38.4
          48.0
                                                                       of 10 times the nominal change. A '0' power control bit
          57.6
                                                                       implies an increase in transmit power, while a '1' power
          67.2                                                         control bit implies a decrease in transmit power.
          76.8                                                            The mobile station 10 is specified to provide a closed loop
                                                                       adjustment range greater than t24 dB around its open loop
                                                                       estimate, assuming transmission on the Fundamental Code
   During the operation of mobile station 10 a number of               Channel only.
variables are defined and Stored in the memory 24, as             15      In accordance with an aspect of this invention, in the
described below.                                                       event that the mobile station 10 is directed by the base
   Begin Preamble: A storage variable in the mobile station            Station closed loop power control to increase its transmit
10 which contains the size of a preamble which is transmit             power level beyond the mobile station's transmit power
ted on a Reverse Supplemental Code Channel at the begin                capacity, the mobile Station 10 immediately terminates
ning of a multi-channel transmission. The default and initial          transmission on Some or all active Reverse Supplemental
value is 0.                                                            Code Channels (as necessary) in order to maintain the base
                                                                       Station directed transmit power level on the Fundamental
  Num Rev Codes: Astorage variable in the mobile station               Code Channel.
10 which contains the number of Reverse Supplemental                      Reference is now made to FIG. 3 for illustrating a portion
Code Channels which are permitted (i.e., there is no pending           of the mobile station 10 that is of most concern to the present
multi-channel reverse transmission). The default and initial      25   invention.
value is 0.                                                              The memory 24 includes a data buffer 24A wherein is
   Resume Preamble: In accordance with an aspect of this               Stored packet data prior to transmission to the network 32.
invention, the Resume Preamble is a Storage variable in the            Packet data is output from the data buffer 24A in RLP frame
mobile station 10 which contains the size of the preamble              format under the direction of the controller 18, and is
which is transmitted on a Reverse Supplemental Code                    provided to a plurality of parallel reverse code channels.
Channel at the beginning of transmission on the Reverse                These channels are shown to be the Fundamental Code
Supplemental Code Channel when resuming transmission                   Channel (FCC) 40, at least a first Supplemental Code
following an interruption caused by the mobile Station 10              Channel (SCC) 42, and possibly other SCCs (e.g., up to
performing the discontinuous transmission (DTX). The                   SCC 44). Each code channel is assumed to include a
default and initial value is 0. The Resume Preamble can be        35   conventional convolutional encoder, interleaver and other
used to assist in Synchronizing (e.g., chip Synchronizing) the         circuitry as currently Specified. An output of each code
base station 32 to the Supplemental Code Channel prior to              channel 40-44 is applied to a respective spreader 40A-44A,
the resumption of data transmission on the previously dis              where the data conveyed by that channel is spread using a
able Supplemental Code Channel.                                        spreading code (e.g., a Walsh code) that was previously
   The following definitions apply to the mobile station.         40   assigned by the network 32. These spreading codes are
   Fundamental Code Channel: A portion of a Traffic Chan               shown as the Fundamental Walsh Code (FWC) and as
nel (Forward or Reverse) which is always present, and                  Supplemental Walsh Codes (SWCo-SWC). Other spread
which carries a combination of primary data, Secondary                 ing codes, Such as a Long Code and I and QPN codes (not
data, Signaling, and power control information.                        shown), are typically also used to spread the signal. The end
   Multi-Channel Operation: A mode of operation of either         45   result is that each parallel data channel is spread over the
a base station or a mobile station during which Multi                  available spectrum, the Signals conveying the parallel data
Channel Transmission is occurring.                                     channels are then combined at Summing node 46, the
                                                                       composite Signal is phase modulated onto a carrier,
  Multi-Channel Transmission: A transmission (either for               up-converted to a final transmitter frequency, and is then
ward or reverse) which occurs on a Fundamental Code               50   amplified by a variable gain amplifier (not shown) and a final
Channel as well as on one or more Supplemental Code                    power amplifier (PA) 15. The PA 15 forms a part of the
Channels.
  Multi-Channel Reverse Transmission: A Multi-Channel
                                                                       transmitter 14 shown in FIG. 1. Typically a directional
Transmission which occurs on the Reverse Traffic Channel.
                                                                       coupler 13 is provided So as to give an indication of the
                                                                       actual transmitter power (TX Power Out). The amplified
   A power control bit received from the base station 30 is       55   Signal, which includes all of the parallel data channels which
valid if it is received in a second 1.25 ms time slot following        have been Spread with the orthogonal Spreading codes, is
a time slot in which the mobile station 10 transmitted (see            then transmitted from the antenna 12 to the base station 30
IS-95-A, Section 7.1.3.1.8). The change in mean output                 of network32. The transmitted signal is received by the base
power level per Single power control bit is nominally 1 dB.            Station 30, is demodulated and then despread using the
The total changed closed loop mean output power is an             60   corresponding Walsh codes (FWC, SWCo... SWC), and
accumulation of the level changes. The mobile station 10               any other applicable codes, in a multi-finger despreader
locks the accumulation of valid level changes and ignores              (e.g., a RAKE receiver), and the recovered data channels are
received power control bits related to gated-off periods when          combined into the desired packet data Stream. The packet
the transmitter 14 is disabled.                                        data Stream may be connected into a public Switched tele
  The total changed closed loop mean output power is              65   phone network (PSTN) that is connected to the MSC 34, or
applied to the total transmit power for the mobile station 10,         it may be connected to a private or public data network for
including the Fundamental as well as all of the active                 routing to a destination device.
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  FIG. 3 also illustrates the functionality of the Multiplex           that the new transmit power will exceed the output power
Layer 46, interposed between the data buffer 24A and the               limit, control instead passes to Block H to delete one parallel
code channels 40-44, which controls the number of frames               code channel, thereby effectively reducing the transmission
that the Service option generates during every 20 millisecond          data rate by an amount carried that code channel (e.g., 9.6
slot, and which are sent to the physical layer (i.e., the         5    kbps). This can be accomplished by “opening the associ
multiple code channels 40–44).                                         ated Switch, thereby placing the corresponding Supplemental
   In accordance with an aspect of this invention the con              code channel in the DTX-Low state. For the purposes of this
troller 18 is responsive to the power control command bits             invention, it can be assumed that placing one of the Supple
                                                                       mental code channels into the DTX-Low state provides an
received from the base station 30 (every 1.25 milliseconds)            increase in the link budget. For example, dropping one half
for reducing the effective data rate, by Selectively disabling         of the Supplemental channels in use provides an increase in
an individual one or ones of the SCCso, So as not exceed               link budget of about 3 dB.
the mobile station's transmitter output power limit. This                 Control then passes back to Block F to determine, based
Selective disabling function is shown Schematically by the             on the current number of active code channels, whether the
switches (SW) that are coupled between the output of the          15
                                                                       newly commanded transmitter power will Still exceed the
data buffer 24A and the inputs to the SCCso, respectively.             mobile station's output power limit. While in most cases this
The opening of one of the Switches places the corresponding            will not be the case, the method can loop between Blocks F
SCC into the Discontinuous Transmission (DTX) low power                and Huntil a Sufficient number of Supplemental code chan
(DTX-Low) state, reduces the effective data rate                       nels have been placed in the DTX-Low state so as to have
proportionately, and thus reduces the peak to average ratio            reduced the transmitted power below the mobile stations
of the transmitted Signal power, which is the desired result.          output power limit. Control eventually passes to Block G
   Referring to FIG.4, a first method in accordance with this          and then back to Block B to continue transmitting data from
invention is illustrated. At Block A it is assumed that the            the buffer 24A, but at the reduced data rate.
mobile station 10 has buffered packet data in the data buffer            Returning to Block E, if it is determined that the last
24A, and has requested and been assigned at least one                  received power control bit instead commands a transmitter
parallel code channel corresponding to the FCC 40, at least       25   power decrease, control passes to Block I where a determi
                                                                       nation is made if at least one Supplemental code channel has
one of the Supplemental code channels (SCCs) shown in                  been previously deleted (i.e., placed in the DTX-Low state).
FIG. 3. At Block B a mobile station begins transmitting data           If no, control passes to Block J to decrease the transmitter
from the data buffer 24A. The mobile station 10 periodically           power by one increment (e.g., 1 dB) and then to Block B. If
determines if the buffer 24A is empty (Block C). If yes,               it is instead determined at Block I that at least one Supple
control passes to terminator D where the method ends.                  mental code channel has been previously deleted, control
Although not shown in FIG. 4, other determinations can be              passes to Block K to determine if the newly commanded,
made, Such as whether a base Station time-out has occurred,            lower transmitter power, assuming that one Supplemental
or whether the mobile station 10 has been signalled by the             code channel were to be reactivated, will be less than the
base station 30 to reduce its data transmission rate. If no at         mobile station's output power limit. The threshold used by
                                                                  35
Block C, and assuming that a power control bit has been                Block K (data rate increase) may or may not be the same
received from the base station 30, a determination is made             threshold as used by Block F (data rate reduction). A
at Block E if a transmitter power increase has been com                different threshold may be preferred if the mobile station is
manded by the base station 30. If yes, control passes to               to avoid frequent dropping and adding back of Supplemental
Block F where the mobile station 10 determines if the new              channel(s) when it operates near to the power limit thresh
                                                                  40
transmitter power will exceed the output power limit of the            old. The use of different thresholds thus provides some
mobile station 10.                                                     degree of hysteresis.
  More particularly, as part of IS-95 normal operation, the               If no At Block K, control passes to Block J to decrease the
mobile station 10 maintains the following calculations:                transmitter power and then to Block B. If it is instead


mean output power (dBm) = -mean input power (dBm) +
                          offset power (a system parameter) +
                          NOM PWR - 16 x NOM POW EXT (network parameters) +
                          INIT PWR (network parameter) +
                          the sum of all access probe corrections (dB) +
                          the sum of all closed loop power control corrections (dB) +
                          10 x log10 (1 + reverse supplemental channels)dB.

                                                                  55
With each new power control command received from the                  determined at Block K that the addition of one, currently
base Station 30, the mean output power is updated, and if it           deactivated Supplemental code channel will not increase the
exceeds the mobile Station's power output threshold, then              newly commanded transmitter power beyond the power
the parameter reverse Supplemental channels is reduced                 limit, control passes to Block L to add one of the previously
until the new mean output power value falls below the             60
                                                                       deleted Supplemental code channels (by "closing the asso
threshold. Alternatively, the mobile station 10 may examine            ciated Switch), and to then transmit the above-described
the average “mean output power values over Several power               Resume Preamble to the base station 30 on the reactivated
control commands, in order to make a decision on whether               SCC. Control then passes back to Block I to determine if
to change the number of Supplemental channels in use.                  another Supplemental code channel has been previously
   If no at Block F, control passes to Block G to increase the         deleted. The method can thus loop, adding Supplemental
transmitter power by one increment (e.g., 1 dB). Control          65   code channels, until it is determined that either no further
then passes back to Block B to continue transmitting data              previously deleted SCCs are available to add, or that the
from the buffer 24A. Returning to Block F, if it is determined         addition of another SCC would cause the output power level
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to exceed the maximum allowable output power level. The                        Station at a predetermined data rate Simultaneously
method eventually transitions back through Block J to                          through a fundamental data channel and at least one
decrease the transmitter power by one increment, as com                        Supplemental data channel;
manded by the base station 30, and then to Block B to                        receiving a command from the base Station to increase the
continue transmitting data from the buffer 24A until the                       transmission power of the mobile Station transmitter;
buffer is determined to be empty at Block C.                                 determining in the mobile Station if the increased trans
  FIG. 5 illustrates a further method in accordance with this
invention. In Block A it is assumed the value of n may be                      mission power will exceed a transmission power
equal to or greater than 1. That is, this method applies to the                 threshold value;
case where the mobile station 10 operates with only one                      if So, reducing the data rate by disabling data transmission
reverse code channel, or with the fundamental and one or                        through the at least one Supplemental data channel;
more Supplemental code channels.                                             increasing the transmission power;
  At Block F, after a transmitter power increase is com                      receiving a command from the base Station to decrease the
manded at Block E, and if it is determined that the new                         transmission power of the mobile Station;
power limit exceeds the power limit threshold, then control           15     determining in the mobile Station if the decreased trans
passes to Block M as before. However, at Block M the                            mission power, assuming that a disabled Supplemental
mobile station 10 reduces the channel data rate by some                         data channel were once more enabled, will be leSS than
increment (e.g., by one half). For example, if the fundamen                     the transmission power threshold value;
tal or one of the Supplemental data channels is operating at                 if So, increasing the data rate by enabling data transmis
9.6 kbps, the mobile station reduces the data rate to 4.8 kbps.                 Sion through at least one previously disabled Supple
Control then passes back to Block F to determine if the                         mental data channel; and
reduced data rate causes the transmitted power to fall below                  decreasing the transmission power.
the power limit. If not, the channel's data rate can be reduced
again at Block M. This proceSS can continue until the data                   2. A method as in claim 1, wherein the Step of increasing
rate is reduced below Some predetermined minimum value,               25   the data rate includes a Step of transmitting a message from
at which time the code channel is disabled as in the embodi                the mobile Station to the base Station for indicating that
ment of FIG. 4.                                                            transmission is being resumed through the at least one
   If a transmitter power decrease is commanded at Block E,                previously disabled Supplemental data channel.
control passes to Block N to determine if the data rate of one               3. A method for operating a code division, multiple access
code channel (the fundamental or one of the Supplemental                   (CDMA) mobile station, comprising the steps of:
code channels) was previously reduced at Block M. If yes,                    requesting a base Station for at least one data channel
control passes to Block K to determine if increasing the data                  based at least in part on a desired mobile Station data
rate through that code channel will cause the transmitter                      transmission rate,
power, based on the newly commanded decrease, to Still be                    receiving a distinct spreading code for each of Said at least
below the power limit threshold. If yes, control passes to            35        one data channel from the base Station for use in
Block O to increase the data rate by one increment (e.g.,                       transmitting Said at least one data channel;
from 2.4 kbps to 4.8 kbps), and then to Block I to determine                 establishing wireleSS data communication from a trans
if the channel's data rate is still reduced from the original                   mitter of the mobile station to a receiver of the base
data rate. The method can loop through Blocks N, K and O                        Station at a predetermined data rate using the received
until either the data rate is restored to its original value (i.e.,   40        distinct spreading codes, the wireleSS data communi
the result of the determination at Block N is no), or it is                     cation being Simultaneously conducted through a fun
determined that a further increase will cause the transmitter                   damental code channel and a least one Supplemental
power to exceed the power limit threshold.                                      code channel;
  This embodiment of the invention assumes that the base                     receiving a first closed loop power control command from
Station 30 is capable of detecting and responding to the              45
                                                                               the base Station, the first closed loop power control
increased or decreased data rate through a given one of the                    command requesting an increase in transmission power
data channels. However, it is also within the Scope of this                     of the mobile station transmitter;
invention to Send a message at the current data rate, Similar                determining in the mobile Station if the increased trans
to the above-described Resume Preamble, to affirmatively                       mission power will exceed a transmission power
notify the base Station 30 of the impending change in data            50
                                                                                threshold value;
transmission rate through a given one of the channels.
   Although described in the context of preferred                            if So, terminating data transmission through at least one
embodiments, it should be realized that a number of modi                        Supplemental code channel and increasing the trans
fications to these teachings may occur to one skilled in the                    mission power;
art. By example, certain Steps of the methods shown in                55     receiving a Second closed loop power control command
FIGS. 4 and 5 can be executed in other than the order shown,                    from the base Station, the Second loop power control
while Still obtaining the same result.                                          command requesting a decrease in transmission power
   Thus, while the invention has been particularly shown and                    of the mobile station transmitter;
described with respect to preferred embodiments thereof, it                  determining in the mobile Station if the decreased trans
will be understood by those skilled in the art that changes in        60       mission power, assuming that data transmission
form and details may be made therein without departing                         through at least one previously terminated Supplemen
from the Scope and Spirit of the invention.                                     tal code channel is resumed, will be less than the
  What is claimed is:                                                           transmission power threshold value;
   1. A method for operating a mobile Station, comprising                    if So, resuming data transmission through at least one
Steps of:                                                             65        previously terminated Supplemental code channel by
   establishing a wireleSS data communication from a trans                      first transmitting a message from the mobile Station to
     mitter of the mobile station to a receiver of the base                     the base Station over the resumed Supplemental code
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      channel for indicating that transmission is being               means for determining in the mobile Station if the
      resumed through the at least one previously terminated             increased transmission power will exceed a transmis
       disabled Supplemental data channel; and                           Sion power threshold value, and if So, reducing the data
   decreasing the transmission power.                                    rate by disabling data transmission through the at least
   4. A method as set forth in claim 3, wherein the first step           one Supplemental data channel;
of determining uses a first power threshold value, wherein            means for increasing the transmission power;
the Second Step of determining uses a Second power thresh             means for receiving a command from the base Station to
old value, and wherein the first power threshold value does              decrease the transmission power of the mobile Station;
not equal the Second power threshold value.                           means for determining in the mobile Station if the
   5. A method for operating a mobile Station, comprising        1O      decreased transmission power, assuming that a disabled
Steps of:                                                                Supplemental data channel were once more enabled,
   establishing a wireleSS data communication from a trans               will be less than the transmission power threshold
      mitter of a mobile Station at a predetermined data rate            value, and if So, increasing the data rate by enabling
      Simultaneously through at least one data channel;                  data transmission through at least one previously dis
                                                                 15      abled Supplemental data channel; and
   receiving a command to increase the transmission power
     of Said mobile Station transmitter;                              means for decreasing the transmission power.
  determining in Said mobile Station that the increased               7. An apparatus in a mobile Station comprising:
    transmission power will exceed a transmission power               means for establishing a wireleSS data communication
     threshold value;                                                    from a transmitter of a mobile Station at a predeter
  reducing Said data rate by disabling data transmission                 mined data rate Simultaneously through at least one
                                                                        data channel;
    through the at least one data channel;                            means for receiving a command to increase the transmis
  increasing the transmission power;                                    Sion power of Said mobile Station transmitter;
  receiving a command to decrease the transmission power         25   means for determining in Said mobile Station that the
     of Said mobile Station;                                            increased transmission power will exceed a transmis
  determining in Said mobile Station that the decreased                 Sion power threshold value;
     transmission power, assuming that the data rate were             means for reducing Said data rate by disabling data
     increased through the at least one previously reduced              transmission through the at least one data channel;
     data channel, will be less than the transmission power           means for increasing the transmission power;
     threshold value, increasing Said data rate through the at        means for receiving a command to decrease the transmis
     least one previously reduced data channel; and                     Sion power of Said mobile Station;
  decreasing the transmission power.                                  means for determining in Said mobile station that the
  6. An apparatus in a mobile Station comprising:                       decreased transmission power, assuming that the data
  means for establishing a wireleSS data communication           35     rate were increased through the at least one previously
     from a transmitter of the mobile station to a receiver of          reduced data channel, will be less than the transmission
    the base Station at a predetermined data rate Simulta               power threshold value;
    neously through a fundamental data channel and at                 means for increasing Said data rate through the at least one
    least one Supplemental data channel;                                previously reduced data channel; and
                                                                 40   means for decreasing the transmission power.
  means for receiving a command from the base Station to
    increase the transmission power of the mobile Station
     transmitter;
